                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:13-cr-133-HSM-SKL
                                                       )
 v.                                                    )
                                                       )
 ANTONIO MATHIS                                        )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on April 23, 2014.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the nine-count

 indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

 that is of conspiracy to distribute 500 grams or more of a mixture and substance containing a

 detectable amount of cocaine, a Schedule II controlled substance, in violation of 21 USC §§ 846,

 841(a)(1) & 841(b)(1)(B), in exchange for the undertakings made by the government in the written

 plea agreement. On the basis of the record made at the hearing, I find the defendant is fully capable

 and competent to enter an informed plea; the plea is made knowingly and with full understanding

 of each of the rights waived by defendant; the plea is made voluntarily and free from any force,

 threats, or promises, apart from the promises in the plea agreement; the defendant understands the

 nature of the charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One be granted, his plea of guilty to the lesser included offense of the charge in Count One, that is

 of conspiracy to distribute 500 grams or more of a mixture and substance containing a detectable

 amount of cocaine, a Schedule II controlled substance, in violation of 21 USC §§ 846, 841(a)(1) &

 841(b)(1)(B) be accepted, the Court adjudicate defendant guilty of the lesser included offense of the




Case 1:13-cr-00133-TRM-SKL           Document 237          Filed 04/25/14     Page 1 of 2      PageID
                                           #: 559
 charge in Count One, that is of conspiracy to distribute 500 grams or more of a mixture and

 substance containing a detectable amount of cocaine, a Schedule II controlled substance, in violation

 of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(B), and a decision on whether to accept the plea

 agreement be deferred until sentencing. I further RECOMMEND defendant remain in custody until

 sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea

 agreement, and imposition of sentence are specifically reserved for the district judge.


                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                        NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
 objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
 in this matter. See 28 U.S.C. §636(b).




                                                    2


Case 1:13-cr-00133-TRM-SKL             Document 237         Filed 04/25/14      Page 2 of 2      PageID
                                             #: 560
